Case 19-80064-TLS           Doc 1078       Filed 04/16/19 Entered 04/16/19 21:18:02                        Desc Main
                                          Document     Page 1 of 15


                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF NEBRASKA

                                                                         )
 In re:                                                                  ) Chapter 11
                                                                         )
 SPECIALTY RETAIL SHOPS HOLDING CORP., et al.,1                          ) Case No. 19-80064-TLS
                                                                         )
                           Debtors.                                      ) (Jointly Administered)
                                                                         )

                         DEBTORS’ MOTION FOR ENTRY OF AN
                     ORDER (I) EXTENDING THE DEBTORS’ EXCLUSIVE
                    PERIODS TO FILE A CHAPTER 11 PLAN AND SOLICIT
                 ACCEPTANCES THEREOF PURSUANT TO SECTION 1121 OF
               THE BANKRUPTCY CODE AND (II) GRANTING RELATED RELIEF

          Specialty Retail Shops Holding Corp. and its debtor affiliates, as debtors and debtors in

 possession in the above-captioned chapter 11 cases (collectively, the “Debtors”) respectfully state

 as follows in support of this motion (this “Motion”):

                                                   Introduction

                  The Debtors commenced these chapter 11 cases to preserve and maximize the value

 of their estates and their three core businesses—retail, pharmacy, and optical—in the face of a

 challenging and diverse capital structure. In the three months since, the Debtors have made

 substantial progress: marketing and pursuing every viable option to preserve a going concern and

 reaching an agreement, subject to Court approval, to do so with their optical business (the “Optical

 Business”); marketing, auctioning, and selling their short-lived pharmacy assets; monetizing their

 retail and other non-continuing assets to reduce their debt and maximize value; engaging with their


 1   The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
     number, are: Specialty Retail Shops Holding Corp. (0029); Pamida Stores Operating Co., LLC (6157); Pamida
     Transportation, LLC (4219); Penn-Daniels, LLC (0040); Place’s Associates’ Expansion, LLC (7526); Retained
     R/E SPE, LLC (6679); Shopko Finance, LLC (1152); Shopko Gift Card Co., LLC (2161); ShopKo Holding
     Company, LLC (0171); ShopKo Institutional Care Services Co., LLC (7112); ShopKo Optical Manufacturing,
     LLC (6346); ShopKo Properties, LLC (0865); ShopKo Stores Operating Co., LLC (6109); SVS Trucking, LLC
     (0592). The location of the Debtors’ service address is: 700 Pilgrim Way, Green Bay, Wisconsin 54304.



 KE 60973275
Case 19-80064-TLS       Doc 1078       Filed 04/16/19 Entered 04/16/19 21:18:02           Desc Main
                                      Document     Page 2 of 15


 creditor constituencies to build consensus wherever possible; and advancing their chapter 11 plan

 process, including obtaining approval of a disclosure statement. Although there remain many

 challenges and contingencies ahead, the Debtors intend to use the Exclusive Periods (as defined

 below) to continue to work with their stakeholders to maximize value and chart a course to

 emergence from chapter 11.

                Since January 16, 2019 (the “Petition Date”), the Debtors have worked diligently

 to advance these chapter 11 cases. The Debtors built off the prepetition marketing process of their

 pharmacy business, and launched a court-approved auction process to capture the value of these

 non-core assets before they suffered further value degradation resulting from the Debtors’

 restructuring. Based upon months of analysis prior to the chapter 11 cases, the Debtors moved

 forward with their plan to substantially reduce their retail footprint to make the business more

 marketable and monetize the associated retail assets through a Court-approved store closing

 process. While the Debtors undertook these initiatives to preserve value, they worked tirelessly to

 find a going concern buyer or sponsor, and advance their chapter 11 plan process. While the

 Debtors were unfortunately unable to find a buyer for their retail business, they were ultimately

 successful in finding a buyer for their optical assets, subject to court-approval. With respect to

 their chapter 11 plan, the Debtors filed a plan on the Petition Date (as amended, modified, or

 supplemented from time to time, the “Plan”) and obtained approval of a disclosure statement (the

 “Disclosure Statement”).     In addition, the Debtors have timely met their obligations, filed

 schedules and statements, obtained approval of a bar date, and otherwise complied with their

 obligations as chapter 11 debtors.

                The Debtors have also worked to build meaningful consensus with their

 stakeholders along the way. The Debtors began these cases with the support of the agent under


                                                 2
Case 19-80064-TLS        Doc 1078     Filed 04/16/19 Entered 04/16/19 21:18:02                Desc Main
                                     Document     Page 3 of 15


 their credit facility, Wells Fargo Bank, N.A., and have worked successfully with the agent

 throughout the cases to resolve issues and obtain its support. After various disputes with their last-

 out lenders under the facility, Shopko Note Holdings, LLC (“Spirit”), the Debtors have recently

 made substantial progress in recent weeks with Spirit to reach consensus on the path ahead. Last,

 the Debtors have worked successfully with their largest landlord and unsecured creditor—first,

 Credit Suisse and later, by assignment, 2105 Lazelle Street LLC (“Monarch”)—to build consensus

 on various issues, including most recently through the transaction with Monarch to preserve the

 Optical Business.

                While the Debtors have spent the past three months generating as much value for

 their stakeholders as possible, there is still significant work ahead to resolve these chapter 11 cases.

 The Debtors intend to use the extension of the Exclusive Periods to: work with Monarch to

 consummate the sale of the Optical Business to develop and preserve the associated going concern;

 continue to monetize their retail assets in an efficient manner and realize on other non-operating

 assets; and negotiate with their stakeholders on an emergence from chapter 11.

                Maintaining the Debtors’ exclusive right to file and solicit votes on the Plan is

 critical to achieving a value-maximizing outcome in these chapter 11 cases. Extending the

 exclusivity periods will afford the Debtors time to achieve their objectives and work with their

 stakeholders toward a consensual resolution of these cases that maximizes value for all

 stakeholders. Therefore, the Debtors request an extension of the exclusivity periods by 180 days

 to allow the Debtors to focus on continuing to advance the process and to preclude the costly

 disruption and instability that could otherwise occur.

                                           Relief Requested

                By this Motion, the Debtors seek entry on an order extending (a) the period during

 which the Debtors have the exclusive right to file a chapter 11 plan (the “Filing Exclusivity
                                                    3
Case 19-80064-TLS        Doc 1078     Filed 04/16/19 Entered 04/16/19 21:18:02                Desc Main
                                     Document     Page 4 of 15


 Period”) through and including December 12, 2019, and (b) the deadline under which the Debtors

 have the exclusive right to solicit a plan filed during the Filing Exclusivity Period (the “Solicitation

 Exclusivity Period,” and, with the Filing Exclusivity Period, collectively, the “Exclusivity

 Periods”) through and including February 10, 2020.

                 Additionally, the Debtors respectfully request leave to submit a proposed order for

 the Court’s consideration, as to grant the relief requested herein.

                                       Jurisdiction and Venue

                 The United States Bankruptcy Court for the District of Nebraska (the “Court”) has

 jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and Nebraska General Rule 1.5

 of the United States District Court for the District of Nebraska. The Debtors confirm their consent,

 pursuant to rule 7008 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), to

 the entry of a final order by the Court in connection with this motion to the extent that it is later

 determined that the Court, absent consent of the parties, cannot enter final orders or judgments in

 connection herewith consistent with Article III of the United States Constitution.

                 Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

                 The bases for the relief requested herein are section 1121 of the Bankruptcy Code,

 Bankruptcy Rule 3007(d), and Rule 9013-1 of the Nebraska Rules of Bankruptcy Procedure (the

 “Local Rules”).

                                         General Background

                 On the Petition Date, each of the Debtors filed a voluntary petition for relief under

 chapter 11 of the Bankruptcy Code. The Debtors are operating their businesses and managing

 their properties as debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy

 Code. On January 16 2019, the Court entered an order [Docket No. 25] authorizing the joint

 administration and procedural consolidation of the chapter 11 cases pursuant to Bankruptcy Rule
                                                    4
Case 19-80064-TLS       Doc 1078     Filed 04/16/19 Entered 04/16/19 21:18:02             Desc Main
                                    Document     Page 5 of 15


 1015(b). No entity has requested the appointment of a trustee or examiner in these chapter 11

 cases. On January 18, 2019, the United States Trustee for the Nebraska (the “U.S. Trustee”)

 appointed the Committee [Docket No. 95].

                A description of the Debtors’ businesses, the reasons for commencing the chapter

 11 cases, and the relief sought from the Court to allow for a smooth transition into chapter 11 are

 set forth in the Declaration of Russell L. Steinhorst, Chief Executive Officer of Specialty Retail

 Shops Holding Corp., in Support of Chapter 11 Petitions and First Day Motions (the “First Day

 Declaration”), filed on January 16, 2019 [Docket No. 4], incorporated herein by reference.

                                       Post-Petition Efforts

                In less than three months after the Petition Date, the Debtors have made substantial

 progress towards advancing these cases. In addition to managing numerous sale processes,

 including the sale of their pharmacy assets, retail business, and Optical Business, the Debtors have

 undertaken actions necessary to advance these cases in as time and cost-efficient a manner as

 possible. Specifically, the Debtors have accomplished the following:

                a.      Obtaining Critical Financial and Operational Relief. The Debtors
                        stabilized their business operations through various operational first- and
                        second-day motions and orders. This allowed them to, among other things,
                        continue to use cash collateral, pay employees, pay landlords, and continue
                        to use their cash management system.

                b.      Chapter 11 Plan and Disclosure Statement. The Debtors made numerous
                        changes to the Plan and accompanying disclosure statement since filing the
                        initial versions on the Petition Date. Following the Court’s approval of the
                        disclosure statement on March 1, 2019, the Debtors have continued
                        discussions with the Committee and their other stakeholders to garner
                        support for the Plan.

                c.      Schedules and Statements. The Debtors submitted their schedules of assets
                        and liabilities and statements of financial affairs on February 22, 2019,
                        which required review and analysis of thousands of claims, assets, and
                        contracts of each of the Debtors;

                d.      Assisting the Stakeholders with Due Diligence Efforts. The Debtors have

                                                  5
Case 19-80064-TLS       Doc 1078    Filed 04/16/19 Entered 04/16/19 21:18:02              Desc Main
                                   Document     Page 6 of 15


                       expended significant effort and time in assisting their lenders, the
                       Committee, and their advisors with conducting due diligence, including
                       providing documents and holding conference calls and in person meetings
                       regarding the same.

                e.     Managing Executory Contracts and Unexpired Leases. Pursuant to the
                       Order (I) Authorizing and Approving the Rejection of Certain Unexpired
                       leases, (II) Approving Procedures to Reject or Assume Executory Contracts
                       and Unexpired Leases, and (III) Granting Related Relief [Docket Entry 76],
                       on the Petition Date, the Debtors rejected 18 unexpired leases, and have
                       filed 11 notices rejecting additional unexpired leases and executory
                       contracts. Moreover, the Debtors are in the process of determining which,
                       if any, executory contracts and unexpired leases to assume.

                f.     Claims Bar Date. On February 14, 2019, the Court entered an order
                       granting the Debtors’ motion to establish certain bar dates. Approximately
                       2,500 claims have been filed to date, and the Debtors have begun the process
                       of reconciling certain of the claims as promptly as possible.

                Despite the significant progress the Debtors have made in these cases, much work

 remains to be done. Among other things, the Debtors intend to use the months ahead to:

 (a) consummate the sale for, and work with the buyer to rebuild, the Optical Business; (b) continue

 to sell their remaining inventory and conduct an orderly wind-down of their retail business; (c)

 evaluate and seek to realize upon causes of action to fund creditor recoveries; and (d) continue to

 engage with their creditor constituents to build consensus for their emergence from chapter 11.

                Extending the Exclusivity Periods will allow the Debtors time to preserve their

 business to the greatest extent possible, realize on their non-continuing assets, and develop

 consensus with stakeholders without the costs and disruption, without any benefit, that would

 follow an expiration of the Exclusivity Periods.

                Therefore, the Debtors request an extension of the Exclusivity Periods by 180 days

 to allow the Debtors to efficiently conclude the chapter 11 cases and preclude the instability that

 would occur if one or more competing plans were to be proposed.




                                                    6
Case 19-80064-TLS        Doc 1078    Filed 04/16/19 Entered 04/16/19 21:18:02               Desc Main
                                    Document     Page 7 of 15


                                           Basis for Relief

                Section 1121(b) of the Bankruptcy Code establishes an initial period of 180 days

 after the commencement of a chapter 11 case during which only a debtor may file a plan and an

 additional 60-day period during which only the debtor may solicit votes for a plan. The foregoing

 periods may be extended for cause upon “request of a party in interest made within the [foregoing

 120 day period] and after notice and a hearing[.]” See 11 U.S.C. § 1121(d). Currently, the Filing

 Exclusivity Period will expire on May 16, 2019, and the Solicitation Exclusivity Period will expire

 on July 15, 2019. The Debtors believe it is prudent to seek an extension of the Exclusivity Periods

 in order to preserve their exclusive ability to file and solicit a new plan of reorganization and that

 cause exists for such extension.

                Although the Bankruptcy Code does not define “cause,” under section 1121(d)(1)

 of the Bankruptcy Code, bankruptcy courts have discretion to extend exclusivity to promote the

 orderly, consensual, and successful reorganization of a debtor’s affairs. See In re Tony Downs

 Foods Co., 34 B.R. 405, 406 (Bankr. D. Minn. 1983) (noting that the legislative intent of section

 1121 was for the bankruptcy court to have discretion to determine whether “cause” has been

 shown, which should be viewed in the context of the Bankruptcy Code’s goal of fostering

 reorganizations); In re Hoffinger Indus., Inc., 292 B.R. 639, 643 (B.A.P. 8th Cir. 2003) (noting

 that an extension of exclusivity is typically granted where there is “some promise of probable

 success [for reorganization]”) (citation omitted).

                Courts often use the following factors in determining whether “cause” exists to

 extend a debtor’s exclusive plan filing period:

                a.      the size and complexity of the case;

                b.      the need for sufficient time to permit the debtor to negotiate a plan of
                        reorganization and prepare adequate information for the creditors’
                        committee;
                                                   7
Case 19-80064-TLS       Doc 1078    Filed 04/16/19 Entered 04/16/19 21:18:02                Desc Main
                                   Document     Page 8 of 15


                c.     whether good faith progress is being made toward reorganization;

                d.     whether an unresolved contingency exists;

                e.     the fact that the debtor is paying their bills as they become due;

                f.     the amount of time which has elapsed in the case due to any previous
                       extensions of exclusivity;

                g.     whether the debtor is seeking to extend exclusivity to pressure creditors to
                       accede to the debtor’s reorganization demands;

                h.     whether the debtor has resolved fundamental reorganization matters
                       essential to their survival; and/or

                i.     whether there has been a gross mismanagement of the debtor.

 See, e.g., In re Acceptance Ins. Companies, Inc., No. BK05-80059-TJM, 2008 WL 3992799, at *2

 (Bankr. D. Neb. Aug. 20, 2008) (listing the nine factors relevant to whether “cause” exists to

 extend exclusivity periods and denying the debtor’s extension request after having already

 received numerous extensions but still not having moved the case forward with respect to any

 outstanding matters); see also Hoffinger Indus., Inc., 292 B.R. at 643–44 (listing the nine factors

 relevant to whether “cause” exists to extend exclusivity periods and finding that a five month

 extension request prior to the exclusivity periods expiring should be granted); Matter of Fansteel,

 Inc., No. 16-01823-ALS11, 2017 WL 782865, at *2–3 (Bankr. S.D. Iowa Feb. 28, 2017) (affirming

 that nine factors are used by courts in the Eighth Circuit to determine whether “cause” under

 section 1121(d)(1) has been shown).

                Not all factors are relevant to every case, and the existence of even one of the

 above-listed factors may be sufficient to extend a debtor’s exclusivity periods. See, e.g., In re

 Standard Mill Ltd. P'ship, No. BKY 4-96-2656, 1996 WL 521190, at *1 (Bankr. D. Minn. Sept.

 12, 1996) (referencing the factors used to show “cause”, but claiming that any number of factors

 can be determinative in the court’s decision regarding “cause” under section 1121(d)(1)); In re


                                                 8
Case 19-80064-TLS        Doc 1078    Filed 04/16/19 Entered 04/16/19 21:18:02               Desc Main
                                    Document     Page 9 of 15


 Wisconsin Barge Line, Inc., 78 B.R. 946, 948 (Bankr. E.D. Mo. 1987) (holding that the following

 three factors, (a) “the size and complexity of the case,” (b) “the need for sufficient time to permit

 the debtor to negotiate a plan of reorganization and prepare adequate information,” and (c) “the

 good faith progress being made toward reorganization,” justified the court “grant[ing] the

 extension of the exclusive period for cause” due to the debtors diligence of having already filed a

 plan prior to the extension request in the large and complex case). Moreover, courts routinely

 grant a debtor’s first request for an extension of the debtor’s exclusive period to file a chapter 11

 plan. See In re Apex Pharm., Inc., 203 B.R. 432, 441 (N.D. Ind. 1996) (“It is true that during the

 initial 120-day period in which debtors have an exclusive right to file a plan of reorganization . . .

 the bankruptcy courts apply a lesser standard in determining whether the burden of showing ‘a

 reasonable possibility of a successful reorganization within a reasonable time’ has been satisfied.”)

 (citation omitted); see also In re Borders Grp., Inc., 460 B.R. 818, 825 (Bankr. S.D.N.Y. 2011)

 (same).

                There is ample precedent in this district and others for an initial extension of

 exclusivity as the Debtors seek here. See, e.g., In re Gordmans Stores, Inc., Case No. 17-80304

 (Bankr. D. Neb. July 7, 2017) (granting 90-day extension request prior to the exclusivity period

 expiring); Hoffinger Indus., Inc., 292 B.R. at 644 (granting a five-month extension request prior

 to the exclusivity period expiring); Wisconsin Barge Line, Inc., 78 B.R. at 948 (granting a fifth

 exclusivity extension for the purpose of soliciting consent for the plan in a large and complex case,

 thus stretching the exclusivity period for over 16 months); In re Toys “R” Us, Inc., Case No. 17-

 34555 (KLP) (Bankr. E.D. Va. Dec. 20, 2017) (granting 180-day extension request prior to the

 exclusivity request expiring); In re rue21, inc., Case No. 17-22045 (GLT) (Bankr. W.D. PA.

 July 21, 2017) (granting 95-day extension request prior to the exclusivity request expiring); BCBG


                                                   9
Case 19-80064-TLS            Doc 1078 Filed 04/16/19 Entered 04/16/19 21:18:02                           Desc Main
                                     Document    Page 10 of 15


 Max Azria Global Holdings, LLC, Case No. 17-10466 (SCC) (Bankr. S.D.N.Y. May 9, 2017)

 (granting 105-day extension request prior to the exclusivity request expiring).2 An initial extension

 of exclusivity for at least 180 days promotes case administration efficiencies, as serial short-term

 extensions lead to instability by forcing parties to continue returning to court over-and-over again

 to litigate exclusivity. See In re MSR Resort Golf Course LLC, No. 11-10372 (SHL) (Bankr.

 S.D.N.Y), Hr’g Tr. Feb. 21, 2012, 7:24–8:3 (extending exclusivity, in part, because “everything

 else in the case ground to a significant halt, in light of prior fights about exclusivity”).

 I.       The Debtors’ Chapter 11 Cases Are Large and Complex.

                   As of several months ago, the Debtors operated over 360 stores in 25 states in

 various formats and as of the Petition Date, employed approximately 14,000 employees. During

 the fiscal year 2017, the Debtors generated revenues totaling approximately $2.6 billion from sales

 of clothing, accessories, electronics, and home furnishings, as well as company operated pharmacy

 and optical services departments.

                   The Debtors entered these cases with a unitranche credit facility with commitments

 of up to $408.5 million, subject to a borrowing base, that included two tranches of ABL lenders

 and two tranches of term loan lenders. Moreover, the Debtors have a wide variety of parties in

 interest, from landlords and trade vendors to local, state, and federal agencies—many of whom

 have been very active in these cases. All of the Debtors’ store locations, distribution centers,

 corporate headquarters, and other office space are leased from third-party landlords and must be

 assumed and assigned or rejected as part of these chapter 11 cases. The Debtors also have a myriad

 of reporting obligations with respect to local, state, and federal taxing and regulatory agencies that



 2    Because of the voluminous nature of the orders cited herein, such orders have not been attached to this Motion.
      Copies of these orders are available upon request to the Debtors’ counsel.


                                                         10
Case 19-80064-TLS        Doc 1078 Filed 04/16/19 Entered 04/16/19 21:18:02                  Desc Main
                                 Document    Page 11 of 15


 the Debtors have continued to comply with, to the extent required by the Bankruptcy Code. These

 cases are incredibly complex, and among the most complex ever filed in this District, and therefore

 the size and complexity of these chapter 11 cases thus weigh in favor of extending the Exclusivity

 Periods.

 II.      The Debtors Have Made Substantial Progress in These Cases, But More Time Is
          Needed to Reach Consensus.

                As noted in this Motion, the Debtors have made significant progress in these cases,

 including completing the sale of approximately 120 pharmacy locations to more than six

 purchasers after a marketing and auction process, pursuing an extensive marketing process that

 involved outreach to over a dozen potential purchasers for their retail business, negotiating and

 implementing a process to realize upon their retail assets, and negotiating and reaching an

 agreement for the sale of their Optical Business. Additionally, the Debtors have executed many

 of their important responsibilities as a chapter 11 debtor, including filing schedules and statements

 and setting bar dates, engaging with their creditor constituencies on these efforts, and, importantly,

 making meaningful progress on the Plan by obtaining approval of the Disclosure Statement. The

 Debtors have made tremendous progress in a limited amount of time thus far in these chapter 11

 cases.

                In the weeks ahead, as the Debtors intend to continue to work to preserve the

 Optical Business, monetize their non-continuing assets efficiently, and reach agreements with their

 stakeholders and third parties on their emergence from chapter 11. The Debtors substantial

 progress, when coupled with the need to resolve the many remaining contingencies in these chapter

 11 cases to reach consensus, all weigh in favor of a further extension of the Exclusive Periods.




                                                  11
Case 19-80064-TLS         Doc 1078 Filed 04/16/19 Entered 04/16/19 21:18:02                  Desc Main
                                  Document    Page 12 of 15


 III.    The Debtors Are Not Pressuring Creditors by Requesting an Extension of the
         Exclusive Periods.

                  The Debtors have no ulterior motive in seeking an extension of the Exclusive

 Periods. Indeed, the Debtors have worked diligently to explore and develop alternatives in these

 chapter 11 cases with their stakeholders to preserve a going concern and to maximize value. The

 Debtors’ focus during these chapter 11 cases has been to maximize the value of their assets through

 a potential sale and then to effectuate a liquidation of the Debtors’ operations. The Debtors have

 coordinated extensively with their major stakeholders to further this goal and have made

 substantial progress with their creditors to date, including their prepetition agent, Spirit, and their

 largest landlord and unsecured creditor, Monarch. In addition, the Debtors continue to engage

 with their vendors, landlords, and the unsecured creditors committee to find resolutions and

 common ground.        And while certain parties have advocated for disparate and sometimes

 conflicting viewpoints on certain issues in these chapter 11 cases, including with respect to the the

 Plan, the Debtors remain engaged with each of their stakeholders to find resolution on these issues

 and remain hopeful of a consensual resolution. Accordingly, the Debtors are not seeking an

 extension to pressure their creditors or other parties in interest.

 V.      The Debtors Are Paying Their Bills as They Come Due.

                  Since the Petition Date, the Debtors have paid their vendors and other stakeholders

 in the ordinary course of business or as required by order of the Court. The Debtors recently filed

 a revised DIP budget in these chapter 11 cases that demonstrates their intention to do so during

 going forward.

 IV.     Relatively Little Time Has Elapsed in These Chapter 11 Cases.

                  This request for an extension of the Exclusivity Periods is the Debtors’ first and

 comes approximately three months into these chapter 11 cases. As described above, courts


                                                   12
Case 19-80064-TLS         Doc 1078 Filed 04/16/19 Entered 04/16/19 21:18:02               Desc Main
                                  Document    Page 13 of 15


 routinely grant a debtor’s request for an initial extension. The fact that these cases remain at a

 relatively early stage in the chapter 11 process and the Debtors have accomplished a great deal in

 a short amount of time further supports the requested extension.

 V.      An Extension of the Exclusivity Periods Will Not Prejudice Creditors.

                 The Debtors seek to maintain exclusivity to focus their efforts on preserving the

 going concern and jobs related to their Optical Business, to continue to monetize their retail and

 other non-continuing assets in an efficient manner, and continue to work with their creditors to

 develop a consensual resolution to these complex chapter 11 cases. Extending the Exclusivity

 Periods will benefit creditors by avoiding a drain on estate assets relating to the potential

 competing chapter 11 plans without any benefit associated with doing so. All stakeholders benefit

 from that continued stability and predictability that comes only with the Debtors being the sole

 plan proponent. Moreover, even if the Court approves an extension of the Exclusivity Periods,

 nothing prevents parties in interest from later appearing before the Court to assert that cause

 supports termination of the Debtors’ exclusivity. Accordingly, the relief requested herein is

 without prejudice to the Debtors’ creditors and will instead benefit the Debtors’ estates, their

 creditors, and all other key parties in interest.

                 Accordingly, the Debtors respectfully submit that sufficient cause exists to extend

 the Exclusivity Periods as provided herein.

                                                     Notice

                 The Debtors have provided notice of this Motion to the following parties or their

 respective counsel: (a) the office of the U.S. Trustee for the District of Nebraska; (b) the

 Committee; (c) the agents under the Debtors’ prepetition asset-based facility; (d) the agents under

 the proposed DIP Facility; (e) the agents under the Debtors’ prepetition term loan facility; (f) the

 Internal Revenue Service; (g) the United States Securities and Exchange Commission; (h) the
                                                      13
Case 19-80064-TLS        Doc 1078 Filed 04/16/19 Entered 04/16/19 21:18:02                 Desc Main
                                 Document    Page 14 of 15


 office of the attorneys general for the states in which the Debtors operate; (i) the United States

 Attorney’s Office for the District of Nebraska; and (j) any party that has requested notice pursuant

 to Bankruptcy Rule 2002. The Debtors submit that, in light of the nature of the relief requested,

 no other or further notice need be given. In light of the nature of the relief requested, the Debtors

 submit that no other or further notice is required.

                                          No Prior Request

                No prior request for the relief sought in this Motion has been made to this or any

 other court.

                            [Remainder of page intentionally left blank]




                                                  14
Case 19-80064-TLS        Doc 1078 Filed 04/16/19 Entered 04/16/19 21:18:02                Desc Main
                                 Document    Page 15 of 15


        WHEREFORE, the Debtors respectfully request: (1) that the Court enter an order

 extending the Filing Exclusivity Period and the Solicitation Exclusivity Period by 180 days each;

 and (2) leave to submit a proposed order for the Court’s consideration granting such relief.

 Dated: April 16, 2019            /s/ Lauren R. Goodman
  Omaha, Nebraska                 James J. Niemeier (NE Bar No. 18838)
                                  Michael T. Eversden (NE Bar No. 21941)
                                  Lauren R. Goodman (NE Bar No. 24645)
                                  MCGRATH NORTH MULLIN & KRATZ, P.C. LLO
                                  First National Tower, Suite 3700
                                  1601 Dodge Street
                                  Omaha, Nebraska 68102
                                  Telephone:      (402) 341-3070
                                  Facsimile:      (402) 341-0216
                                  Email:          jniemeier@mcgrathnorth.com
                                                  meversden@mcgrathnorth.com
                                                  lgoodman@mcgrathnorth.com
                                  - and -
                                  James H.M. Sprayregen, P.C.
                                  Patrick J. Nash, Jr., P.C. (admitted pro hac vice)
                                  Travis M. Bayer (admitted pro hac vice pending)
                                  KIRKLAND & ELLIS LLP
                                  KIRKLAND & ELLIS INTERNATIONAL LLP
                                  300 North LaSalle
                                  Chicago, Illinois 60654
                                  Telephone:       (312) 862-2000
                                  Facsimile:       (312) 862-2200
                                  Email:           james.sprayregen@kirkland.com
                                                   patrick.nash@kirkland.com
                                                   travis.bayer@kirkland.com

                                  - and -
                                  Steven Serajeddini (admitted pro hac vice)
                                  KIRKLAND & ELLIS LLP
                                  KIRKLAND & ELLIS INTERNATIONAL LLP
                                  601 Lexington Avenue
                                  New York, New York 10022
                                  Telephone:     (212) 446-4800
                                  Facsimile:     (212) 446-4900
                                  Email:         steven.serajeddini@kirkland.com

                                  Co-Counsel to the Debtors
